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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

     In re:
                                                             Chapter 11
    W.R. GRACE & CO., et al.,                                Case No. 01-01139 (AMC)
                                                             (Jointly Administered)
           Reorganized Debtor.


     W.R. GRACE & CO., et al.,

          Plaintiff,

     v.                                                      Adv. Pro. No. 23-50587 (AMC)

     ANDREW R. VARA, in his official
     capacity as the United States Trustee for
     Region 3; TARA TWOMEY, in her official
     capacity as Director of the United States
     Trustee Program; and the UNITED
     STATES TRUSTEE PROGRAM,

          Defendants.

                        ORDER APPROVING STIPULATION FOR STAY

          This Court having considered the Stipulation for Stay (the “Stipulation”) between the

Plaintiff and Defendants, attached hereto as Exhibit 1; the Court having determined that good and

adequate cause exists for approval of the Stipulation; and the Court having determined that no

further notice of the Stipulation must be given; it is hereby ORDERED:

          1.     The Stipulation is APPROVED.

          2.     The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this order.

                                                          ____________________________
                                                          The Honorable Ashely M. Chan
       October 16, 2023
Dated: ___________                                        United States Bankruptcy Judge
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                     Exhibit 1

                     Stipulation
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

     In re:
                                                           Chapter 11
    W.R. GRACE & CO., et al.,                              Case No. 01-01139 (AMC)
                                                           (Jointly Administered)
           Reorganized Debtor.


     W.R. GRACE & CO., et al.,

          Plaintiff,

     v.                                                    Adv. Pro. No. 23-50587 (AMC)

     ANDREW R. VARA, in his official
     capacity as the United States Trustee for
     Region 3; TARA TWOMEY, in her official
     capacity as Director of the United States
     Trustee Program; and the UNITED
     STATES TRUSTEE PROGRAM,

          Defendants.

                                  STIPULATION FOR STAY

          WHEREAS, on September 29, 2023, the Supreme Court of the United States granted the

petition for a writ of certiorari in Office of the United States Trustee v. John Q. Hammons Fall

2006, LLC, Case No. 22-1238 (U.S.) (“Hammons”);

          IT IS HEREBY STIPULATED AND AGREED, by and between (a) Plaintiff W.R. Grace

& Co., et al. (the “Plaintiff”); and (b) Defendants Andrew R. Vara, in his official capacity as the

United States Trustee for Region 3; Tara Twomey, in her official capacity as Director of the

Executive Office for United States Trustees; and the United States Trustee Program (each a

“Defendant” and together the “Defendants”), subject to approval of the Court, that the above-

captioned adversary proceeding (including Defendants’ obligation to answer/respond to the
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complaint, Plaintiff’s Motion for Summary Judgment [D.I. 6], and any briefing deadlines related

to the motion for summary judgment) is stayed until the earlier of: (i) the Supreme Court of the

United States renders a decision in Hammons; or (ii) June 30, 2024.

       Upon the termination of the stay, the Parties shall request a hearing no later than fourteen

days after the date of termination. Within seven days prior to the date of such hearing, the Parties

shall jointly file a proposed scheduling order to resolve this Adversary Proceeding. If the Parties

are unable to reach agreement, then they shall each file separate proposed scheduling orders. Any

proposed scheduling order shall set, among other deadlines, new dates to answer or respond to the

complaint and to respond to the motion for summary judgment.

       The stay may be terminated prior to such time, and the related deadlines reset (including

Defendants’ deadline(s) to answer/respond to the complaint and the deadlines associated with the

motion for summary judgment), or the stay may be extended upon entry of an order by this Court:

(i) pursuant to written agreement of the parties, filed with this Court; or (ii) upon motion of a party,

on notice.

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Date: October 13, 2023

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